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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:23-cv-24565-MORENO

   SHANNON OWENS,

          Plaintiff,

   v.

   UNIVERSITY OF MIAMI,

         Defendant.
   _____________________________________/

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff, Shannon Owens, and Defendant, University of Miami, by and through their

  undersigned counsel and pursuant to Fed. R. Civ. P. 41, hereby stipulate to the dismissal of this

  case with prejudice. Each party shall bear her/its own attorneys’ fees and costs.

                           Respectfully submitted this 2nd day of July, 2024,

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